Case 1:20-cv-00052-SPW Document 267-13 Filed 09/27/23 Page 1 of 2

From: Ryan Shaffer

To: Brett Jensen

Ce: Jessica Yuhas; Gerry.Fagan@moultonbellingham.com; Christopher Sweeney; Jon Wilson; Michael Sarabia;
jordan. fitzgerald@moultonbellingham.com; Joel jtaylor ; Rob Stepans; Jared Brannan;

Subject: Re: Caekaert/Mapley & Rowland Schulze: Response to WINY"s 7/27/2023 Ltr. re Rule 35 Exam
Date: Monday, July 31, 2023 10:57:51 AM
Brett,

I can do | pm today... let me know if that works.

Sent from my iPhone

On Jul 31, 2023, at 10:45 AM, Brett Jensen <BJensen@brownfirm.com> wrote:

Hi Ryan:

Thanks for your letter. Can you chat with us today at 2pm? | will send out instructions
to our conference line.

Brett C. Jensen
Brown Law Firm, P.C.

315 North 24" Street

P.O. Drawer 849

Billings, MT 59103-0849
Telephone: (406) 248-2611
Fax: (406) 248-3128

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EXHIBIT

From: Jessica Yuhas <jessica@mss-lawfirm.com>

Sent: Friday, July 28, 2023 2:52 PM 13

Case 1:20-cv-00052-SPW Document 267-13 Filed 09/27/23 Page 2 of 2

To: Brett Jensen <BJensen@brownfirm.com>; Gerry.Fagan@moultonbellingham.com;
Christopher Sweeney <Christopher.Sweeney@moultonbellingham.com>; Jon Wilson
<jwilson@brownfirm.com>; Michael Sarabia <MSarabia@brownfirm.com>;
Jordan.FitzGerald@moultonbellingham.com; Joel Taylor (jtaylor@mmt-law.com
<jtaylor@mmt-law.com>

Ce: Ryan Shaffer <ryan@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>;
Jared Brannan <jbrannan@mmt-law.com>; carrie. nance@moultonbellingham.com;
Barbara Bessey <BBessey@brownfirm.com>; Sylvia Basnett
<SBasnett@brownfirm.com>; Katy Gannon <katy@mss-lawfirm.com>; James Murnion
<james@mss-lawfirm.com>; Matthew Merrill <matthew@merrillwaterlaw.com>;
Debbie Braaten <debbie.braaten@moultonbellingham.com>

Subject: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re
Rule 35 Exam

Counsel,

Please see our attached response to your letter of July 27, 2023. This will follow
via U.S. Mail.

Thank you,

Jessica Yuhas
Paralegal

<image001 .jpg>

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430 Ryman St.
Missoula, MT 59802
Tel: 406-543-6929
Fax: 406-721-1799

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